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                          Arrest Report                                 Lexington Police Department


                                 ARREST REPORT
Case #

                                      NARRATIVE
  (INCLUDE IF PHOTOS WERE TAKEN, FINGERPRINTS AND EVIDENCE IF ANY SECURED AT LOCATION AND ANY
                              OTHER INFORMATION VITAL TO REPORT)

 On Sunday March 6, 2022 at approximately 02.00 hrs, This Investigator Charles Henderson PD-2 was
 on Highway 12 near Old Tchula Road conducting a Safety Check Point. I observed a Dark Blue Toyota
 Camry pull up to the check point with very dark windows I then check the driver later identified as Peter
 Reeves of I exington, Ms.

 I asked for his licenses and insurance and smelled a heavy presence of marijuana com ing from inside
 the vehicle. Mr. Reeves stated that he didn't have his insurance on him and he was told to pull over to
 the right shoulder of the road. Officer J. Newell then began writing him citations, which I then walked up
 to his vehicle and instructed him to step out, due to the smell of marijuana coming from inside the
 veh icle

 I then began to do a search of the vehicle and located a Black Glock Hand Gun under the driver seat
 and Officer Newell then detained Mr. Reeves for Officer Safety Officer Newell then ran the gun through
 Holmes County Sheriff Department, which came hack clear I then continued searching the vehicle and
 located two pills bottles,which one bottle didn't have a label on it and the other one had the name
 George Reeves on it

 I noticed that both bottles contained different medications in them, which I then looked up both
 medications. One medication was oxycoton, which is a schedule I I controlled substance and had
 approximately 19 dosage units in the bottle 190 I looked inside the other bottle with George Reeves on it
 and it had 67 pills to belonged to his uncle

 I noticed that Mr Reeves eyes was heavy diolated and Redish, which gave me the belief and training
 and experience that he was under the influence of marijuana I then placed M r. Reeves under arrest for
 the narcotics being the pills(19), tint violation, and no insurance I then advised dispatch to send the
 next wrecker on rotation for the vehicle

 Mr Reeves was then walked to the rear of Officer Newell patrol vehicle and placed in the rear of that
 vehicle. Dispatch advised that Farmer's Towing was en route for that vehicle




                                        ADDITIONAL SHEET ATACHED YES                         NO
OFFICER'S SIGNATURE

SUPERVISOR APPOVAL DATE:                        SUPERVISOR DISAPPROVAL DATE:

BY:                                                                                      PAGE # 2
                                                Exhibit "H"
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                           Arrest Report                               Lexington Police Department
 PD# Officer                                         Bdg#             Case #                          Date
L u Invest. Charles Henderson                          2                                           3-6-2022

 Last Reeves                                   First Peter                     mi   A

Address                                             City Lexington           State MS Zip39095

D.O.B.                    Height                 Weight              Race B         I       Sex    Li
                               Eye   BRO   I       Hair   BLK

DL#                                     SSN#                           Phone #s


                               Scars or Marks
                                                                           Alias
Age at Arrest 31




         Occupation


           Employer




Charges (1) Poss of Controlled Sub.(Felony)

          (2) Tint Violation

          (3) No Insurance


   Bond



           Ticket or Aft #




                                                                                        PAGE # 1
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                                       Crim inal Record                                           /Paid Prior
                                                                                                   to Court (
                                                                                                            J     CLEAR
                                                                                                                      )

     Case                                                        Year    Ticket or Aff. #
                      Warrant Issued t.                                                    Evidence Logged In
   1 32757                                                       2022        025079
   Last     Reeves                              First    Peter                              mi. A            Suffix

Address                                                    City Lexington                       State    MS     gip 39095
                                                           Phone

D.O.B.                           Age   31       Height                  Weight

                                       Race    B            Sex     M

 Scars or Marks

            Alias

  DL#                                  SSN#

 DL State MS        DL Class R              DL Status
                                                                         I
  Do Not Make Changes to Violation on This Screen.
Violation NO PROOF OF LIAB INS                                                Date 03-05-2022           Time      02:01
Hwy or Street Glady's                              Speed    -                 Speed Limit -       Accident N
Court Date 04-14-2022                    Blood Alcohol Content                           Shoplift/DUI Form

Com pan ion Cases                      Offense M Traffic (Moving Violation)                             Offense Code M
                                              Fine & Assessments
  Total                                       Fine Plus
Assessments         $328.00                  Assessments     $428.00                        Account Balance             $0.00

         Fine Amount      $100.00                                       This Is A List Of The Local Assessments
                                                                                    You Have Asigned.
         Select The State Assessments
                For This Violation                                      Check The Box Below If You Want These
                                                                         Assessments Added To This Account
            State Assessment Codes
          Traffic_Violation          TV                  90.50               Add Local Assessments 11.
    .
         Court constituents          CC                   0.50                   HC- Crime Stoppers                   2.00
   _._ _ Uninsured
             _      Motorist     j UMI
                          ___,,____,                    200.00                         Technology Fee                 0.00
                                                                                               UMI 1st                0.00
                                                                                               Non-Adj
                              1
        _.... .               I                                                         Processing Fee           35.00
                State Assessment Total                  291.00               Local Assessment Total             $37.00

                                              Officer information
         Pd# 11                             Bdo     11                           Officer     Justin Newell
Same as Officer         If other than the Officer                                                       Dispatcher
     Charges Filed by    Justin Newell                                                                  Thompson
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                                        Crim inal Record                                                  Paid Prior
                                                                                                          to Court
                                                                                                                        CLEAR
                                                                                                                            )
     Case                                                             Year    Ticket or Aff. #
                      Warrant Issued                                                             Evidence Logged In
    132758                                                           2022         025080
    Last    Reeves                               First       Peter                                mi. A            Suffix

Address                                                        City Lexington                         State    MS     Zip 39095
                                                               Phone

D.O.B.                           Age    31       Height                      Weight

                                        Race    B               Sex      M

 Scars or Marks

            Alias

  DL#                                   SSN#

 DL State MS        DL Class R               DL Status
                                                                              I
  Do Not Make Changes to Violation on This Screen.
Violation Tint Law                                                                 Date 03-05-2022            Time      02:01
Hwy or Street Glady's                                  Speed   -                   Speed Limit -       Accident N
Court Date 04-14-2022                       Blood Alcohol Content                             Shoplift/DUI Form

Companion Cases                         Offense M Traffic (Moving Violation)                                  Offense Code M
                                               Fine & Assessments
  Total                                       Fine Plus
Assessments         $93.00                    Assessments        $193.00                          Account Balance             $0.00

        Fine Amount                     $100.00                              This Is A List Of The Local Assessments
                                                                                         You Have Asigned.
         Select The State Assessments
                   For This Violation                                        Check The Box Below If You Want These
                                                                              Assessments Added To This Account
              State Assessment Codes
  [         Traffic Violation               1 TV ,           90.50,               Add Local Assessments ►4
         Court Constituents                 1 CC              0.50                      HC- Crime Stoppers                  2.00
    . ....,      _ ------__-2,--__--_--_-_
        .
        .,                  .               I                                               Technology Fee                  0.00
                                            i                                                      UMI 1st                  0.00
                -_
   ._                        ........   i                                                          Non-Adj
                                                    I
                                                                                                Processing Fee
              State Assessment Total                         91.00                Local Assessment Total               $2.00

                                               Officer information
         Pd# 11                              Bdq#       11                            Officer      Justin Newell
Same as Officer         If other than the Officer                                                             Dispatcher
     Charges Filed by    Justin Newell                                                                        Thompson
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                                       Crim inal Record                                              Paid Prior
                                                                                                     to Court

     Case                                                        Year    Ticket or Aff. #
                      Warrant Issued                                                        Evidence Logged In
    1 32768                                                      2022       025080
   Last     Reeves                              First    Peter                               Mi. A            Suffix       I
Address                                                    City Lexington                        State    MS     Zip 39095
                                                           Phone

D.O.B.                           Age   31       Height                  Weight

                                       Race     B           Sex     M

 Scars or Marks

           Alias

  DL#                                  SSN#

 DL State MS        DL Class R              DL Status

  Do Not Make Changes to Violation on This Screen.
Violation Poss.controlled substnce                                           Date 03-05-2022              Ti m     02:01
Hwy or Street Glady's                                  Speed, -              Speed Limit -       Accident N
Court Date 04-07-2022                       Blood Alcohol Content                       Shoplift/DUI Form

Companion Cases                        Offense T Felony Drug                                             I Offense Code T
                                              Fine & Assessments
  Total                                       Fine Plus
Assessments          $2.00                   Assessments         $2.00                      Account Balance
         Fine Amount                                                    This Is A List Of The Local Assessments
                                                                                    You Have Asigned.
          Select The State Assessments
                For This Violation                                      Check The Box Below If You Want These
            State Assessment Codes                                       Assessments Added To This Account

                                       JI                                  Add Local Assessments 0.
      --.—                             —                                       HC- Crime Stoppers   2.00
                                                                                  Technology Fee    0.00
             ....                                                                         UMI 1st   0.00
                                                                                          Non-Adj
                                                                                           Processing Fee
               State Assessment Total                                      Local Assessment Total                 $2.00

                                              Officer information
         Pd# 11                             Bdq#    11                           Officer      Justin Newell
Same as Officer         If other than the Officer                                                        Dispatcher
    Charges Filed by     Justin Newell                                                                    Thompson
